The relief described hereinbelow is SO ORDERED.

SIGNED this 21st day of March, 2023.




 ________________________________________________________________________

                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS

                                             )
In re:                                       )
                                             )
VITA CRAFT CORPORATION,                      )       Case No. 19-22358
                                             )       Chapter 11
               Debtor.                       )

                FINAL DECREE IN A CHAPTER 11 BANKRUPTCY CASE

         THIS MATTER comes before the Court upon Debtor Vita Craft Corporation’s Motion for

Final Decree in a Chapter 11 Bankruptcy Under Bankruptcy Rule 3022 [Doc. 280] (“Motion”).

The Motion was filed on February 10, 2023. Due and proper notice of the Motion was given to

creditors and parties in interest. No objections were filed and no hearing was held. The Court,

having reviewed the Motion and being fully advised in the premises, finds and orders as follows:

         1.    This order is entered pursuant to 11 U.S.C. § 350(a), Rule 3022 of the Federal Rules

of Bankruptcy Procedure, and Local Bankruptcy Rule 3022.1.

         2.    Debtor Vita Craft Corporation (“Vita Craft”) filed for relief under Chapter 11 of

the United States Bankruptcy Code on November 1, 2019.

         3.    Vita Craft’s Second Amended Plan of Reorganization (the “Plan”) [Doc. 227] was



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confirmed by the court on April 5, 2022 [Doc. 265] (the “Confirmation Order”).

       4.      The Confirmation Order is now final and non-appealable.

       5.      The Plan became effective on April 20, 2022.

       6.      The Plan did not provide for any distribution of deposits.

       7.      All property proposed by the Plan to be transferred has been transferred.

       8.      Vita Craft has assumed the business or management of the property dealt with in

the Plan.

       9.      Payments have commenced under the Plan.

       10.     The Plan provides for three classes of unsecured creditors. Unsecured creditors in

the convenience class (Class 3A) and the employee class (Class 3C), each received 50 percent of

their allowed claims. Unsecured creditors in the ordinary course class (Class 3B) received 25

percent of their allowed claims. All classes of unsecured claims have been fully paid such amounts

as were as allowed under the Plan. For administrative efficiency, some claims were paid more

quickly than required by the Plan.

       11.     The claim of Johnson County, Kansas for unpaid property taxes was subject to an

adversary proceeding brought by Vita Craft which was resolved by a compromise settlement and

subsequently dismissed. Vita Craft has paid, or is paying, the amount called for under the

settlement with Johnson County.

       12.     BMO Harris Bank, a secured creditor which elected to have its claim treated under

the provisions of 11 U.S.C. § 1111(b)(2), is being paid in monthly installments. Payments due

BMO Harris Bank are current.

       13.     All motions, contested matters and adversary proceedings have been resolved.

       14.     All fees currently due under 28 U.S.C. § 1930 have been paid.




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        15.     Vita Craft will file operating reports for periods through the date of entry hereof, and will

pay any fees due under 28 U.S.C. § 1930 for periods through the date entry hereof.

        16.     All pre-confirmation professional fees and associated expenses paid by Vita Craft

have received final approval by the Court and have been paid.

        17.     The Plan has been substantially consummated as contemplated by 11 U.S.C. §

1101(2).

        18.     The estate has been fully administered as contemplated by Rule 3022 of the Federal

Rules of Bankruptcy Procedure and a final decree should now be entered.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Vita Craft’s Plan has

been substantially consummated as contemplated by 11 U.S.C. § 1101(2).

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the instant proceeding

be and hereby is closed pursuant to 11 U.S.C. § 350(a) and Rule 3022 of the Federal Rules of

Bankruptcy Procedure.

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 Submitted by:
 LATHROP GPM LLP


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